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                    Exhibit N
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                                 ARCHEGOS CAPITAL
                                  MANAGEMENT LP


                       Operations Compliance Manual
                                    and
                               Code of Ethics

                                           July 30, 2018




                                                                                 GOVERNMENT
                                                                                   EXHIBIT
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Confidential Treatment Requested by King & Spalding                       Archegos-CFTC-SEC 002054
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           E.     Market Manipulation Policy

           It is essential that no employee or principal of Archegos engages in any activity the purpose of
           which is to inte1fere with the integrity of the marketplace. Among other things, intentionally
           manipulating the market, as discussed below, is a violation of the securities laws and of Archegos'
           policies and standards of conduct.

                   1.     Policy and Procedure,
           It is Archegos' policy that neither the Managing Member nor any Archegos personnel may
           engage in practices intended to manipulate the market. Therefore, the Managing Member may
           not give an order t,o enter into a securities transaction for a manipulative purpose. No Trader
           may facilitate in any way such an order. This means that if a Trader knows, or has reason to
           know or suspect, that the Managirng Member is seeking to transact in a security for manipulative
           purposes, the Trader must refuse to give any such order to a broker.

           If the Managing Member or any Trader has reason to believe that the Managing Member or any
           other Trader, as applicable, is engaging in manipulative practices, he or she must report this
           matter to Compliance immediately. The CCO will promptly report the matter to the Managing
           Member (unless he is involved in the trade) and conduct an internal investigation of the matter.

                  2.      Discussion of the Law,
                   The term "manipulation", which is not specifically defined under the federal seculiities
           laws, generally refers to any intentional or deliberate act or practice in the marketplace that is
           intended to mislead investors by artificially controlling or affecting the price of a security traded
           in such marketplace. For example, manipulation may involve efforts to stimulate artificially the
           public demand for a stock or to create the false appearance of actual trading activity. Practices
           that may be intended to mislead investors by artificially affecting market activity and thus may
           constitute manipulative acts include, but are not limited to:

                  •       portfolio pumping (submitting orders to purchase securities held by a client near
                          the close of trading on the last day of a period for which the client's performance
                          will be reported (e.g., quarter-end));

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                     •        wi ndow dressing (adding or el i minating secuntles holdings of a cl i ent on or
                              around the date for which the client ' s holdings wil l be reported solely in order to
                              make the cli ent s hold ings appear more favorable to the client or the client's
                              investors (e.g., by eliminating a poorly performing holding or acquiring a security
                              that has performed well));

                     •        mark ing the close (executi ng securities tramactions at or near the close with a
                              purpose of inflating the day s price);

                     •        v,·ash ,ales ( sel l i ng a security at a loss and purcha ing the same or a substanr ia!ly
                              sim i l ar security soon afte1wa.rd s ) .

                     •        front running (transact ing in a security for one ' s own account whil e taking
                              advantage of advance knowledge of a client s pending transactions)-
                     •        spreacling false rumors·

                     •        disseminating fal se information into the marketplace that could reasonably be
                              expected to cause the price of a security to increase or decrease;
                     •        matched orders (buyi ng a security with a low turnover and subseq uent ly placing
                              contemporaneous buy and sell orders for the security for substantially the same
                              nu mber of securities at substantial l y the same time and at substantially the same
                              pri ce, with tbe ai m of conveying an appearance of renewed i nterest in the
                              security);

                     •        runs (al so k nown as pumping and dumping); and

                     •        corners and abusive squeezes (control of a large and dominating security position
                              in a market in order deliberatel y to increase the price of the security).

            The rules aga inst market manipulation do not mean that merely trying to acq uire or to dispose of
            stock for invest ment purposes and incid ental ly affecti ng the price is unlawful. It is permissib l e
            for trading t o have a corollary effect u pon the price of a security as an anci l l ary consequence of
            buyi ng or sell i ng that security, so long as the investor,s purpose is not to create an artificial
            impression about the demand for, or supply of, the security. Further certain of the practices
            described above may in cenain instances be made in connection with legitimate business purposes
            and in such instances would not constitute market manipu lation. Personnel wit h any questions
            whether any transaction may constitute market manipu l ation should contact the CCO
            immediately.

            The SEC and the federal courts have emphasized that manipulation, in essence, interferes with
            the free forces of supply and demand, and, thus the integrity of the market . As the SEC stated in
            a 1 977 case:

                     Investors and prospective inve stors . . . are . . . entitled to assume that the prices that
                     they pay and receive are determined by the unimpeded interaction of real supply

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                       and demand so that those prices are the coll ective marketplace judgments that
                       they purport to be. Manipulations frustrate these expectations. They subst itute
                       fiction for fact . . . . The vi ce i s that the market has been di storted and made into a
                                                           3
                       stage-managed performance.
            The most cited anti-manipulative provisions of the federal securities l aws are Sect ion 1 O(b) of
            the Exchange Act and Rule l Ob-5 thereunder. Section l O(b ) makes it unlawful to use or employ,
            in connection with the purchase or sale of any security any manipulative or deceptive device or
            contrivance rn contravention of such rules and regulations as the SEC may prescribe. The
            various rules promulgated by the SEC under Section 1 O(b) define specific activitjes as
            manipu lative or deceptive acts or practices. Ru le 1 0b-5, however, sometimes referred to as the
            "a nti-ma nipulation" ru le, ets forth the genera l proh ibition on fra udu lent deceptive or
            manipulat i ve devices. The prohibit ions against manipulative and deceptive act s under Section
            1 O(b) and Rul e 1 Ob-5 apply to all securities not just those registered on a national stock exchange.
            The SEC and the federal courts have established that pure manipu lation - that i s, merely
            undertaking act. s to raise or lower the p1ice of a security - constitutes a "manipu lative or
            deceptive device ' and a "scheme to defraud. "4

            Section 1 7(a) of the Securities Act of 1 933 (the " 1 93 3 Act' ) i s also a general antifraud provisio n
            and applies to mani pulation i n the over-the-counter market. Section l 7(a) proscribes material
            rrusrepresentati ons or omissions, any scheme device or artifice to defraud, or any fraudulent or
            deceitfu l transaction, practice or course of business, in the offer or sale of securities.

               cction 9(a ) of the 1 934 Act speci fi cal ly pro hi bits va rious man i pu lat i \ e practices with regard to
            securities l i sted fo r trad i ng on nat ional exchanges. For example, Section 9( a )( I ) pro h i bits the use
            of "was h sa les·· and " mat ched orders" for the purpose of creat i ng a fa l se o r m· · l ead i ng
            a Jpearance of act i ve tradi ng i n a ny security registered o n a nation a l exc hange. Section 9(a)(2)
            prohibits manipu lation of prices by any person acting alone or with others who for the purpose
            of inducing others to buy or sell a particular security, effects a series of transactions in the
            security which creates actual or apparent active trading in the security or causes a rise or decl i n e
            i n the price of the security. Section 9(a)(3) prevents brokers, dealers and others from circul ating
            or disseminating information about a security to the effect that the price of the security wi ll or is
            l ikely to rise or fall for the purpose of raising or loweri ng the price of the security.

            Rule l .Ob-2 l under the Exchange Act makes it unlawful to submit an order to sel l a security if the
            person submitti ng the order deceives a broker-dealer, a partici pant of a regi stered clearing
            agency or a purchaser regarding his or her i ntention or abi l ity to del iver the security by t he
            settlement date and to then fail to del iver the security by the settlement date. Rule l Ob-2 1 al so
            applies to sel l ers who misrepresent to their broker -dealers that they own the shares being sold .




            3
                Edward J . Mawood & Co . . 46 SEC 865 ( 1 977).
            4 There is a Li mited eKcept ion for manipulat i ve actions designed to stabil ize the price of a new issue. This eKception

            is nol applicable lo trading by Archegos.

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